         Case 2:12-cr-00247-JFC Document 55 Filed 11/05/20 Page 1 of 8




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,                      )
                                               )
                vs.                            )      Criminal No. 12-247
                                               )
TERRANCE L. SZYMANSKI,                         )
                                               )
                Defendant.                     )


                               MEMORANDUM OPINION

   I.       INTRODUCTION

   Pending before the court is a motion for early termination of supervised release

filed by counsel on behalf of defendant Terrance Szymanski (“defendant” or

“Szymanski”) (ECF No. 50). The government filed a response in opposition (ECF

No. 53) and the motion is ripe for decision.

   II.      PROCEDURAL HISTORY

         On November 1, 2012, Szymanski pleaded guilty to five counts of tax evasion, in

violation of 26 U.S.C. § 7201, as set forth in counts one through five of the Information

at Criminal No. 12-247 (ECF No. 1). On March 18, 2013, the court sentenced defendant

to serve a term of imprisonment of 14 months at each count, to consecutively run, for a

total term of imprisonment of 70 months (ECF No. 25 at 2). The court further imposed a

term of supervised release of three years at each count, to concurrently run, a special

assessment of $100 at each count, for a total special assessment of $500, and a fine of

$6,000. Szymanski was not ordered to pay restitution. Szymanski was released from

prison and began serving his 3-year concurrent terms of supervised release on May 17,

2018.

         As set forth in the presentence investigation report (“PSI”) (ECF No. 14),

                                               1
      Case 2:12-cr-00247-JFC Document 55 Filed 11/05/20 Page 2 of 8



Szymanski has numerous prior convictions that resulted in a subtotal criminal history

score of 15. Two points were added because he was on supervised release at the time he

committed the offenses in this case, for a criminal history score of 17, which placed him

in criminal history category VI. Id.

          Of particular relevance to the pending motion, Szymanski was twice granted

early termination of his supervised release. In Criminal No. 93-127, he pleaded guilty to

tax evasion and served a term of imprisonment of 12 months. On March 6, 1996,

Szymanski’s motion for early termination of his supervised release was granted (PSI ¶

29). In Criminal No. 02-179, Szymanski pleaded guilty to attempting to evade taxes and

operating an illegal gambling business. He was sentenced to prison for 36 months. On

November 3, 2006, the court granted his motion for early termination of his supervised

release (PSI ¶ 31).

   III.       STANDARD

          Supervised release “serves an entirely different purpose than the sentence

imposed under § 3553(a),” Pepper v. United States, 562 U.S. 476, 502 n. 15 (2011). It

“fulfills rehabilitative ends, distinct from those served by incarceration.” United States v.

Johnson, 529 U.S. 53, 59 (2000). The court’s determination whether early termination of

supervised release is “warranted by the conduct of the defendant released and the interest

of justice,” § 3583(e)(1), is a discretionary decision. United States v. Bayard, 537 F.

App’x 41, 42 (3d Cir. 2013). The “district court enjoys discretion to consider a wide range

of circumstances when determining whether to grant early termination.” United States v.

Melvin, No. 20-1158, -- F.3d --, 2020 WL 6108619 (3d Cir. Oct. 16, 2020).

          Pursuant to the governing statute, 18 U.S.C. § 3583(e):

          [t]he court may, after considering the factors set forth in section
          3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), (a)(6),

                                                 2
        Case 2:12-cr-00247-JFC Document 55 Filed 11/05/20 Page 3 of 8



        and (a)(7)—

               (1) terminate a term of supervised release and discharge the
                   defendant released at any time after the expiration of one
                   year of supervised release, pursuant to the provisions of
                   the Federal Rules of Criminal Procedure relating to the
                   modification of probation, if it is satisfied that such
                   action is warranted by the conduct of the defendant
                   released and the interest of justice.

 18 U.S.C. § 3583(e)(1). As specified in § 3583(e)(1), in exercising its discretion, the

 court must consider the following factors:

    •   the nature and circumstances of the offense and the history and characteristics of
        the defendant, § 3553(a)(1);

    •   the need for the sentence imposed to afford adequate deterrence to criminal
        conduct, protect the public from further crimes of the defendant, and provide the
        defendant with needed educational or vocational training, medical care, or other
        correctional treatment in the most effective manner, § 3553(a)(2)(B)-(D);

    •   the sentencing range established by the Sentencing Commission, § 3553(a)(4);

    •   any pertinent policy statement issued by the Sentencing Commission, §
        3553(a)(5);

    •   the need to avoid unwarranted sentence disparities among defendants with similar
        records who have been found guilty of similar conduct, § 3553(a)(6); and

    •   the need to provide restitution to any victims of the offense, § 3553(a)(7).

 District courts need not make specific findings of fact with respect to each factor; it is

 sufficient for the court to state that it considered the statutory factors. Melvin, 2020 WL

 6108619 at *3.

    In Melvin, the court of appeals recently clarified that “a district court need not find that

an exceptional, extraordinary, new, or unforeseen circumstance warrants early termination

of a term of supervised release before granting a motion under 18 U.S.C. § 3583(e)(1).” Id.

at *3. The court explained that the language in United States v. Laine, 404 F. App’x 571,

573-74 (3d Cir. 2010), that “early termination of supervised release under section 3583(e)

                                               3
       Case 2:12-cr-00247-JFC Document 55 Filed 11/05/20 Page 4 of 8



should occur only when the sentencing judge is satisfied that something exceptional or

extraordinary warrants it,” is not based on the statute and is not binding precedent. Melvin,

2020 WL 6108619 at *3.

     The court explained in Melvin that, although not required, some changed

cirmcumstances will generally be important to warrant early termination of supervised

release:

       We think that “[g]enerally, early termination of supervised release under §
       3583(e)(1)” will be proper “only when the sentencing judge is satisfied that
       new or unforeseen circumstances” warrant it. Davies, 746 F. App'x at 89
       (emphasis added) (internal quotation marks omitted). That is because, if a
       sentence was “sufficient, but not greater than necessary” when first
       pronounced, 18 U.S.C. § 3553(a), we would expect that something will have
       changed in the interim that would justify an early end to a term of supervised
       release. But we disavow any suggestion that new or unforeseen circumstances
       must be shown.

Id. (emphasis in original).

     IV.    ANALYSIS

     Szymanski does not articulate a particularized reason for seeking early termination of

 his supervised release. He did not identify any hardship or other restriction posed by his

 existing conditions of supervision. Szymanski simply asserts that he “demonstrated an

 excellent adjustment since his incarceration, has good family and community values, and

 does not pose a threat to his community.” (ECF No. 50 at 2).

     In opposing early termination, the government clarifies, as an initial matter, that the

 probation office does not consent to Szymanski’s motion; instead, the probation office

 takes no position. On the merits, the government argues that Szymanski’s current

 compliance with his conditions is a good thing, but is to be expected. The government

 also points to Szymanski’s commission of crimes after his supervised release was

 terminated early in the past, and argues that the continuation of supervised release is


                                               4
      Case 2:12-cr-00247-JFC Document 55 Filed 11/05/20 Page 5 of 8



important to influence Szymanski’s continued good conduct.

   The court first will consider the pertinent factors set forth in § 3553(a), as instructed

in 18 U.S.C. § 3583(e)(1), and then determine whether early termination of defendant’s

supervised release is warranted by his conduct and in the interest of justice.

           A. § 3553(a) Factors

                    i. The nature and circumstances of the offense and the history and
                       characteristics of the defendant, § 3553(a)(1).

       Szymanski was convicted of five felony tax evasion charges in this criminal

case. He has a lengthy history of criminal offenses, including numerous prior tax

crimes, and his criminal history category is VI. He committed additional crimes after

being granted early termination of his supervision in 1996 and 2006.

       Szymanski’s supervision in Crim. No. 93-197 was truncated from September

14, 1997 to March 6, 1996. In Crim. No. 02-179, he pleaded guilty to attempt to evade

or defeat taxes and operating an illegal gambling business, including conduct involving

tax years 1996 and 1997 (when he would have been on supervision but for the early

termination). Szymanski’s supervision in Crim. No. 02-179 was truncated from

August 10, 2008 to November 3, 2006. His criminal conduct in this case (Crim. No.

12-247) included conduct involving tax years 2006, 2007 and 2008 (when he would

have been on supervision but for the early termination). See PSI at 5, 9, 11, 12.

       Szymanski is commended for his current compliance with the conditions of

supervision. This factor nevertheless weighs strongly against early termination of

supervision.




                                             5
      Case 2:12-cr-00247-JFC Document 55 Filed 11/05/20 Page 6 of 8



                  ii.       The need for the sentence imposed to afford adequate deterrence
                           to criminal conduct and protect the public from further crimes of
                           the defendant, and provide the defendant with needed
                           educational or vocational training, medical care, or other
                           correctional treatment in the most effective manner§§
                           3553(a)(2)(B)-(D).

       The continuation of supervision affords deterrence to future criminal conduct

and protects the public from further crimes by defendant. This factor weighs against an

early termination of supervised release.

                  iii.     The sentencing range established by the Sentencing
                           Commission, § 3553(a)(4).

       Szymanski pleaded guilty to five felonies and his terms of imprisonment were

imposed to consecutively run. His terms of supervised release on each count, however,

were concurrent, as provided by the sentencing commission. Szymanski has

approximately 8 months left on each of his 3-year concurrent terms of supervision. A

lesser term of supervision is not warranted, based on Szymanski’s extensive criminal

history. The court determines that this factor weighs against early termination of his

supervised release.

                  iv. Any pertinent policy statement issued by the Sentencing
                      Commission, § 3553(a)(5).

       Neither party cited to any applicable policy statement for the court to

consider in deciding the pending motion.

                      v.    The need to avoid unwarranted sentence disparities among
                           defendants with similar records who have been found guilty of
                           similar conduct, § 3553(a)(6).

       There is no evidence of a need for early termination of Szymanski’s supervised

release to avoid unwarranted sentence disparities among defendants with similar

records who have been found guilty of similar conduct.

                  vi. The need to provide restitution to any victims of the offense, §
                                                6
      Case 2:12-cr-00247-JFC Document 55 Filed 11/05/20 Page 7 of 8



                       3553(a)(7).

       Restitution is not at issue in this case.

             B. Whether early termination is warranted and in the interest of justice

       In support of his motion, Szymanski asserts that he has demonstrated an excellent

adjustment while on supervision. While admirable, compliance with the conditions of

supervision is required. Indeed, particularly given Szymanski’s history of new criminal

conduct after the early termination of supervision, the fact that he is now in compliance

may very well mean that supervision is serving its deterrent and rehabilitative purposes

and continuation of supervision to full term will achieve its desired effects on the

supervised individual and community. Although a defendant need not show extraordinary

or exceptional new circumstances, the mere compliance with Szymanski’s conditions of

supervision does not persuade the court to grant an early termination of supervised release.

If there are particular conditions of supervision that impact Szymanski’s ability to perform

specific tasks, the proper remedy is to ask the probation officer and the court to modify

those conditions.

       Considering the relevant factors, and the basis urged for early termination of

supervision, the court finds that early termination is not warranted and is not in the

interest of justice in this case. The court commends Szymanski’s compliance with the

conditions of his supervised release. Although laudable, these actions are expected and

indeed required while he is on supervised release. The minimal burden to complete the

remaining term of supervised release to which he was sentenced does not outweigh the §

3553(a) factors already considered. The denial of the motion is without prejudice to

defendant’s ability to file a new motion and to bring additional information to the court’s

attention.


                                               7
        Case 2:12-cr-00247-JFC Document 55 Filed 11/05/20 Page 8 of 8




   V.       CONCLUSION

        Based upon the foregoing, the court will deny without prejudice the motion for

early termination of supervised release (ECF No. 50). If circumstances change and there

is a basis for early termination of the term of supervised release, Szymanski may file a

new motion.

        An appropriate order follows.



Dated: November 5, 2020                      BY THE COURT:


                                             /s/ Joy Flowers Conti
                                             Joy Flowers Conti
                                             Senior United States District Judge




                                             8
